Case 9:23-cr-80101-AMC Document 184 Entered on FLSD Docket 10/16/2023 Page 1 of 4




                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

                   Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ______________________________/


                         GOVERNMENT’S SUPPLEMENTAL RESPONSE
                            TO STANDING DISCOVERY ORDER

         The United States of America, by and through the Special Counsel’s Office, files this

  pleading to supplement prior responses (ECF Nos. 30, 59, 80, 92, 113, 122, 143, 172) to the

  Standard Discovery Order, issued on June 13, 2023 (ECF No. 16).      This pleading complies with

  Local Rule 88.10 and Federal Rule of Criminal Procedure 16.

         Per the protective order issued in this case (ECF No. 27), the Government has provided six

  prior productions of discovery to Defendants Donald J. Trump, Waltine Nauta, and Carlos De

  Oliveira.      See ECF Nos. 30, 59, 80, 92, 113, 122, 143, 172.       On October 16, 2023, the

  Government provided a seventh production of unclassified discovery to counsel for Defendants

  (“Production 7”).     Production 7 consists of about 138 pages produced in response to an October

  9, 2023 discovery letter from defendant Trump.         The Government produced the materials

  notwithstanding the Government’s belief that such production exceeds its current discovery

  obligations.
Case 9:23-cr-80101-AMC Document 184 Entered on FLSD Docket 10/16/2023 Page 2 of 4




         The Government responds to the specific items identified in the standing discovery order

  as set forth below.

         B.      DEMAND FOR RECIPROCAL DISCOVERY: The United States requests the
                 disclosure and production of those items described and listed in paragraph B of the
                 Standing Discovery Order, and as provided by Federal Rule of Criminal Procedure
                 16(b).

         C.      The Government is providing information or material known to the United States
                 that may be favorable to either defendant on the issues of guilt or punishment within
                 the scope of Brady v. Maryland, 373 U.S. 83 (1963), or United States v. Agurs, 427
                 U.S. 97 (1976).

         D.      The Government has disclosed and will continue to disclose any payments,
                 promises of immunity, leniency, preferential treatment, or other inducements made
                 to prospective Government witnesses, within the scope of Giglio v. United States,
                 405 U.S. 150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

         J.      The Government’s discovery productions include the grand jury testimony and
                 recordings of witnesses who may testify for the Government at the trial of this case.

         The Government is aware of its continuing duty to disclose newly discovered additional

  information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules of Criminal

  Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.



                                                Respectfully submitted,

                                                JACK SMITH
                                                Special Counsel

                                        By:     /s/ Jay I. Bratt
                                                Jay I. Bratt
                                                Counselor to the Special Counsel
                                                Special Bar ID #A5502946
                                                950 Pennsylvania Avenue, NW
                                                Washington, D.C. 20530

                                                Julie A. Edelstein
                                                Senior Assistant Special Counsel
                                                Special Bar ID #A5502949


                                                   2
Case 9:23-cr-80101-AMC Document 184 Entered on FLSD Docket 10/16/2023 Page 3 of 4




                                     David V. Harbach, II
                                     Assistant Special Counsel
                                     Special Bar ID #A5503068




                                        3
Case 9:23-cr-80101-AMC Document 184 Entered on FLSD Docket 10/16/2023 Page 4 of 4




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 16, 2023, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.



                                               /s/ Julie A. Edelstein
                                               Julie A. Edelstein
                                               Senior Assistant Special Counsel




                                                  4
